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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    YENG CONG HONG
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. 2:11 CR 00166-MCE
                                     )
12                   Plaintiff,      )
                                     )      STIPULATION AND
13        v.                         )      TO CONTINUE DISCOVERY MOTION
                                     )      HEARING
14   YENG CONG HONG,                 )
     et al.,                         )      Date: October 31, 2012
15                                   )      Time: 2:00 p.m.
                     Defendants.     )      Judge:
16                                   )
     _______________________________ )
17
18        IT IS HEREBY STIPULATED between the parties, TODD LERAS, Assistant
19   United States Attorney; DOUGLAS BEEVERS, Assistant Federal Defender,
20   attorney for defendant YENG CONG HONG hereby stipulate that the discovery
21   motion set for October 31, 2012 be reset to November 6, 2102.
22   Dated: October 30, 2011                Respectfully submitted,
23                                          DANIEL BRODERICK
                                            Federal Defender
24
                                            /s/ Doug Beevers
25                                          DOUG BEEVERS
                                            Assistant Federal Defender
26                                          Attorney for Defendant
                                            YENG CONG HONG
27
28
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1    Dated: October 30, 2012                      BENJAMIN B. WAGNER
                                                  United States Attorney
2
                                           By:    /s/ Todd Leras
3                                                 TODD LERAS
                                                  Assistant U.S. Attorney
4                                                 Attorney for Plaintiff
5
                                                 ORDER
6
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
7
     ordered that the             hearing on defendant Yend Hong’s discovery motion
8
     presently set for October 31, 2012, be continued to November 6, 2012, at
9
     2:00 p.m., before Magistrate Judge Gregory G. Hollows.
10
     DATED: October 31, 2012.
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     hong0166.stipord.disc.mot.
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     Stip and Order                              -2-
